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                                         U.S. Department of Justice
[Type text]
                                                          United States Attorney
                                                          Southern District of New York

                                                          86 Chambers Street
                                                          New York, New York 10007



                                                          September 30, 2020

By ECF

Honorable Robert W. Lehrburger
United States Magistrate Judge
United States Courthouse
500 Pearl Street, Room 1960
New York, NY 10007

      Re:      The New York Times Company v. U.S. Department of State et al., 19 Civ. 9420 (RWL)

Dear Judge Lehrburger:

       I write respectfully to inform the Court that I will be leaving the United States Attorney’s
Office. Accordingly, I request the entry of an order terminating my appearance in this matter.
My colleague, AUSA Lucas Issacharoff, has entered an appearance on behalf of the defendants
and will continue to handle the case.

            I thank the Court for its consideration of this submission.

                                                          Respectfully submitted,

                                                          AUDREY STRAUSS
                                                          Acting United States Attorney for the
                                                          Southern District of New York

                                                      By: /s/ Andrew E. Krause
                                                         ANDREW E. KRAUSE
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cc:         All counsel of record via ECF
